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                                                                                 January 8, 2021

VIA ECF
Honorable Gregory H. Woods
United States District Judge
United States District Court                                 MEMORANDUM ENDORSED
Southern District of New York
500 Pearl Street
New York, New York 10007

                    Re:     Roy Taylor v. NYPD Officer Trigeno, et al.,
                            16-CV-1143 (GHW)
Your Honor:

               I am an Assistant Corporation Counsel in the office of James E. Johnson,
Corporation Counsel of the City of New York, representing defendants City of New York and
Nayab Qayyum1 in the above-referenced matter. I write respectfully to request a 7-day extension
of time, nunc pro tunc, from January 6, 2021 to the date of the initial conference, to file the joint
case management plan and proposed scheduling order as required by Your Honor’s Individual
Rule 2(b). This request is being submitted without plaintiff’s consent.2

                To date, the undersigned has been unable to meet and confer with plaintiff in
anticipation of the initial pretrial conference. Unfortunately, previous efforts to communicate with
plaintiff have been unsuccessful due to a myriad of issues, including facility staffing and safety
concerns. At this time, the facility is attempting to arrange another call with plaintiff before the
scheduled conference date. The undersigned hopes to communicate with plaintiff soon to prepare
a joint proposed case management plan and scheduling order. However, the undersigned is unable
to do so before the date of the initial conference.


1
    The Civil Docket Sheet incorrectly spells defendant’s last name as Quayyum. The correct spelling is Qayyum.
2
    The undersigned was unable to speak with plaintiff or obtain consent before the filing of this extension request.
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              In light of the foregoing, the undersigned seeks a 7-day extension of time from
January 6, 2021 until January 13, 2021 to meet and confer with plaintiff and file a joint proposed
case management plan and scheduling order.

                The undersigned thanks the Court for its consideration of this request.
                                                    Respectfully submitted,

                                                              /s/ Amanda Rolon
                                                       Assistant Corporation Counsel
                                                       Special Federal Litigation Division
BY FIRST CLASS MAIL
Roy Taylor
Plaintiff Pro Se
NYSID: 04528137Q
B&C No. 3291804923
Anna M Kross Center
18-18 Hazen Street
East Elmhurst, NY 11370



Application granted. The deadline for the parties to submit their joint proposed case management
plan and scheduling order is extended to January 13, 2021 at 10:00 a.m.

The Clerk of Court is directed to mail a copy of this order to Plaintiff.
SO ORDERED.
                                                               _____________________________________
Dated: January 10, 2021                                               GREGORY H. WOODS
                                                                     United States District Judge




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